                                                   Case 2:21-cv-01530-AMM Document 70-1 Filed 12/15/21 Page 1 of 1                                                      FILED
                                                                                                                                                               2021 Dec-15 PM 10:37
                                                                                                                                                               U.S. DISTRICT COURT
                                                                                                                                                                   N.D. OF ALABAMA
                   2020 GAIN/LOSS     2011     2021    2011    2021   2011 2021       2011      2021  2011 2021     2011   2021    2011 2021   2011    2021    2011 2021
                  CENSUS FROM 2021 TOTAL TOTAL WHITE WHITE WHITE WHITE               BLACK     BLACK BLACK BLACK    WHT    WHT     WHT WHT      BLK     BLK     BLK   BLK
DISTRICT MEMBER DATA       IDEAL       POP     POP     POP     POP POP % POP %        POP       POP POP % POP % VAP POP VAP POP VAP % VAP % VAP POP VAP POP VAP % VAP %
       1 Carl     726,276      8,522 682, 820 717,754 458,705 461,324 67.18 64.27   188,859   186,921 27.66 26.04 359, 599 371,902 69.66  66.7 133,191 138,128   25.8 24.77
       2 Moore    693,466    -24,288 682, 820 717,755 446,880 433,244 65.45 60.36   201,339   217,392 29.49 30.29 352,940 350,279 67.81 62.81 145,232 162,714    27.9 29.18
       3 Rogers   735,132     17,378 682,819 717,754 482,435 479,432 70.65   66.8   171,780   176,953 25.16 24.65 380,198 386,048 72.42 68.41 126,215 136,382 24.04 24.17
       4 Aderholt 702,982    -14,772 682,819 717,754 591,403 582,698 86.61 81.18     46,636    51,929   6.83 7.23 460,438 463,433 88.19 83.33   34,374  39,834   6.58  7.16
       5 Brooks   761,102     43,348 682,819 717,754 518,464 499,707 75.93 69.62    116,026   124,642 16.99 17.37 406,038 403,155 77.65 71.84   85,841  95,757 16.42 17.06
       6 Palmer   740,710     22,956 682,819 717,754 551,887 498,843 80.82   69.5    92,576   138,019 13.56 19.23 427,601 397,498 82.55 71.97   65,503 100,878 12.65 18.27
       7 Sewell   664,611    -53,143 682,820 717,754 225,620 265,204 33.04 36.95    434,095   400,306 63.57 55.77 190,099 222,731 36.38 39.21 316,422 308,030 60.55 54.22




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